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                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK


 NAMEL NORRIS,                                                      CASE NO: 1:25-cv-00387

       Plaintiff,

 vs.                                                                 COMPLAINT

 NORTH FORK RESTAURANT GROUP LLC, a
 New York limited liability company, d/b/a NORTH
 FORK RESTAURANT, and M & E CHRISTOPHER
 LLC, a New York limited liability company,

    Defendants.
 __________________________________________/

         Plaintiff, NAMEL NORRIS, (hereinafter the “Plaintiff”), through his undersigned counsel,

hereby files this Complaint and sues NORTH FORK RESTAURANT GROUP LLC, a New York

limited liability company, d/b/a NORTH FORK RESTAURANT, and M & E CHRISTOPHER

LLC, a New York limited liability company, (hereinafter, collectively, the “Defendants”), for

injunctive relief, attorney’s fees and costs (including, but not limited to, court costs and expert

fees) pursuant to 42 U.S.C. §12181, et. seq., of the AMERICANS WITH DISABILITIES ACT

(“ADA”), the NEW YORK CITY HUMAN RIGHTS LAW ("NYCHRL"), and the NEW YORK

STATE HUMAN RIGHTS LAW (“NYSHRL”) and alleges:

                                    JURISDICTION AND PARTIES

         1.         This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331 and §343.

         2.         Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all events

giving rise to this lawsuit occurred in New York.
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       3.      The remedies provided by the New York State Human Rights Law are not exclusive

and state administrative remedies need not be exhausted in connection with suits brought under

the Federal Civil Rights Act.

       4.      At the time of Plaintiff’s visit to NORTH FORK RESTAURANT, prior to

instituting the instant action, NAMEL NORRIS, (hereinafter referred to as “Plaintiff”) was, and

is, a resident of the City and State of New York, residing at 1485 Park Avenue, New York, New

York, suffered from what constitutes a “qualified disability” under the Americans With Disability

Act of 1990, as he is a paraplegic and uses a wheelchair for mobility. The Plaintiff, prior to

commencing this lawsuit, personally visited Defendants’ Property, but was denied full and equal

access to, and full and equal enjoyment of, the facilities at Defendants’ Property, which is the

subject of this lawsuit.

       5.      The Defendants, NORTH FORK RESTAURANT GROUP LLC, a New York

limited liability company, d/b/a NORTH FORK RESTAURANT, and M & E CHRISTOPHER

LLC, a New York limited liability company, are authorized to conduct, and are conducting

business within the State of New York. Upon information and belief, NORTH FORK

RESTAURANT GROUP LLC, is the lessee and/or operator of the real property (hereinafter and

heretofore referred to collectively as “Defendants’ Property”), and the owner of the improvements

where the Subject Facilities are located which is the subject of this action, the facilities commonly

referred to as NORTH FORK RESTAURANT, (hereinafter, collectively, the “Subject Facilities”)

located at 122 Christopher Street. New York, New York (hereinafter and heretofore referred to

collectively as “Defendants’ Property”), which also maintains and controls the Subject Facilities.

Upon information and belief, M & E CHRISTOPHER LLC, is the owner, lessor and/or operator

of the real property where the Subject Facilities is located which is the subject of this action, the
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Facilities commonly referred to as NORTH FORK RESTAURANT, located at 122 Christopher

Street. New York, New York, (hereinafter and heretofore referred to collectively as “Defendants’

Property”), which also maintains and controls the Subject Facilities.

       6.      All events giving rise to this lawsuit occurred in the City of New York, State of

New York. Venue is proper in this Court as the premises is located in the State of New York.

     COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       7.      On or about July 26, 1990, Congress enacted the Americans With Disabilities Act

(“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of the Title III of

the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(a).

       8.      Congress found, among other things, that:

               (i)      some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number shall increase as the population continues to
               grow older;

               (ii)    historically, society has tended to isolate and segregate individuals
               with disabilities, and, despite some improvements, such forms of
               discrimination against disabled individuals continue to be a pervasive
               social problem, requiring serious attention;

               (iii)   discrimination against disabled individuals persists in such critical
               areas as employment, housing, public accommodations, transportation,
               communication, recreation, institutionalization, health services, voting
               and access to public services and public facilities;

               (iv)     individuals with disabilities continually suffer forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and communication
               barriers, failure to make modifications to existing facilities and practices.
               Exclusionary qualification standards and criteria, segregation, and
               regulation to lesser services, programs, benefits, or other opportunities;
               and,

              (v)      the continuing existence of unfair and unnecessary discrimination
               and prejudice denies people with disabilities the opportunity to compete
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               on an equal basis and to pursue those opportunities for which our country
               is justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

               42 U.S.C. §12101(a)(1)-(3), (5) and (9).

       9.      Congress explicitly stated that the purpose of the ADA was to:

               (i)    provide a clear and comprehensive national mandate for the
               elimination of discrimination against individuals with disabilities;

               (ii)   provide clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and,

               (iii) invoke the sweep of congressional authority, including the power
               to enforce the fourteenth amendment and to regulate commerce, in order
               to address the major areas of discrimination faced on a daily by people
               with disabilities.

               42 U.S.C. §12101(b)(1)(2) and (4).

       10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Subject Facilities is a

place of public accommodation in that it is an establishment which provides services to the public.

       11.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or

Subject Facilities which are the subject of this action is a public accommodation covered by the

ADA and which must be in compliance therewith.

       12.     The Plaintiff is informed and believes, and therefore alleges, that the Subject

Facilities have begun operations, and/or undergone substantial remodeling, repairs and/or

alterations, since January 26, 1990, and/or has sufficient income to make readily achievable

accessibility modifications.

       13.     Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others who are similarly situated, by denying full and equal access to, and full and equal

enjoyment of, goods, services, facilities, privileges, advantages and/or accommodations at

Defendants’ Property, in derogation of 42 U.S.C. §12101, et. seq., and as prohibited by 42 U.S.C.
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§12182, et. seq., and by failing to remove architectural barriers pursuant to 42 U.S.C.

§12182(b)(2)(a)(iv), where such removal is readily achievable.

          14.      The Plaintiff has been unable to, and continues to be unable to, enjoy full and equal

safe access to, and the benefits of, all the accommodations and services offered at Defendants’

Property. Plaintiff, a Hip-Hop/Rap recording artist who, for the past 20 years, has collaborated

with colleagues in this genre at least two times per month at private homes/recording studios within

a few blocks from the Subject Facility. Plaintiff resides approximately 11.6 miles from the

Defendants’ Property and visits the “West Village” area of Manhattan, near Defendants’ Property

on a regular basis, often shopping and dining with friends and his rap music colleagues in the

various shops and restaurants in that area. Prior to the filing of this lawsuit personally visited

Defendants’ Property, but was denied access to the Defendants’ Property, a highly rated1

“…American-accented comfort food [restaurant] in a rustic setting…. borne out of our love of

hospitality, sense of community and affinity for history…[with] [e]xposed brick walls, reclaimed

barn woods, a live-edge wood oak bar, large windows and rustic accents re-create a sense of

tradition and sustainability…”2 and therefore suffered an injury in fact. In addition, Plaintiff shall

promptly visit the Subject Property in the future once it is made accessible and ADA compliant,

but continues to be injured in that he is unable to and continues to be discriminated against due to




1
  (a) “Stopping in here was a pleasant surprise. I'd love to come back for their full food menu. There's so many
overhyped places in the West Village that are packed on a weekend but this place is a hidden gem. Highly
recommend coming here versus a "trendy" spot.”
(b) “Really cute spot deep in the West Village! They have an everyday happy hour that starts at 4pm and goes to
6pm fri/Sat and to 7pm otherwise. Got an aperol spritz for $9. It was a little watery for my liking, but the alcohol
still hit.”
(c) “…they do have a bottomless brunch. Service was great because the staff kept refilling our water because we
were chatting for awhile. Lots of seating.”
See https://www.yelp.com/biz/the-north-fork-new-york-2
2
    See https://www.northforknyc.com/
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the architectural barriers which remain at Defendants’ Property, all in violation of the ADA, and

the New York State Human Rights Law.

         15.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA, known as the Americans with Disabilities Act Accessibility Guidelines

(hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said Department may obtain civil

penalties of up to $110,000 for the first violation and $150,000 for any subsequent violation.

         16.      The Defendants’ Subject Facilities are in violation of 42 U.S.C. §12181, et. seq.,

the ADA and 28 C.F.R. §36.302, et. seq., and is discriminating against the Plaintiff as a result of

inter alia, the following specific violations: 3

       (i)      Failure to provide an accessible entrance, due to multiple steps at the said entrance,

                without an ADA-compliant ramp and/or wheelchair lift, in violation of 28 C.F.R.

                Part 36, Section 4.14.

       (ii)     Failure to provide a safe and accessible means of egress from the Subject Facility,

                in violation of 28 C.F.R. Part 36, Section 4.3.10.

       (iii)    The bar, is higher than 34 inches above the finished floor, in violation of the

                requirements of 28 C.F.R. Part 36, Section 5.2 which requires a maximum height of

                the bar counter, or a 60-inch wide section of it, to be 34 inches above the finished

                floor.




3
  In accordance with the Second Circuit in Kreisler, “... consistent with the ADA’s mandate that disabled individuals
need not “engage in a futile gesture if such a person has actual notice that [the private entity] does not intend to
comply with [ADA] provisions.” 42 U.S.C. § 12188(a)(1). In short, Kreisler need not personally encounter each
ADA violation within the Diner in order to seek its removal.” See Kreisler v. Second Avenue Diner Corp., d/b/a
Plaza Diner, J.J.N.K. Corp., 12‐4093 (2d Cir. 2013), at p. 10.
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      (iv)    Failure to provide accessible emergency exit of the Subject Facility, due to a step at

              said emergency exit, without an ADA-compliant ramp and/or an ADA-compliant

              wheelchair lift, in violation of 28 C.F.R. Part 36, Section 4.14.

      17.     Upon information and belief, there are other current violations of the ADA at

Defendants’ Property, and only once a full inspection is done can all said violations be identified.

      18.      To date the architectural barriers, the removal of which is readily achievable, and

other violations of the ADA still exist and have not been remedied or altered in such a way as to

effectuate compliance with the provisions of the ADA.

      19.      Pursuant to the ADA, 42 U.S.C. §12101, et seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facilities, each a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants have failed

to comply with this mandate.

       20.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the Subject Facilities to make it

independently accessible to, and useable by, individuals with disabilities to the extent required by

the ADA, and closing the Subject Facilities until the requisite modifications are completed.

   COUNT II - VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

       21.     The New York City Human Rights Law provides:

               (a) It shall be an unlawful discriminatory practice for any person, being the owner,
               lessee, proprietor, manager, superintendent, agent or employee of any place or
               provider of public accommodation because of the actual or perceived … disability
               … of any person, directly or indirectly, to refuse, withhold from or deny to such
               person any of the accommodations, advantages, facilities or privileges thereof …
               to the effect that any of the accommodations, advantages, facilities and privileges
               of any such place or provider shall be refused, withheld from or denied to any
               person on account of … disability …

               NYC Admin. Code § 8-107(4)(a).
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        22.     Defendants, NORTH FORK RESTAURANT GROUP LLC, a New York limited

liability company, d/b/a NORTH FORK RESTAURANT, and M & E CHRISTOPHER LLC, a

New York limited liability company, a New York corporation, are in violation of the New York

City Human Rights Law by denying the Plaintiff full and safe access to all of the benefits,

accommodations and services of the Subject Facilities.

        23.     The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 20 as if

set forth in their entirety here.

      COUNT III - VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

        24.     The New York State Human Rights Law provides:

                (a) It shall be an unlawful discriminatory practice for any person, being the owner,
                lessee, proprietor, manager, superintendent, agent or employee of any place of
                public accommodation…. because of the … disability … of any person, directly
                or indirectly, to refuse, withhold from or deny to such person any of the
                accommodations, advantages, facilities or privileges thereof … to the effect that
                any of the accommodations, advantages, facilities and privileges of any such place
                shall be refused, withheld from or denied to any person on account of … disability
                …

                NYS Exec. Law § 296 (2)(a).

        25.     Defendants’ Property is a place of public accommodation as defined in the New

York State Human Rights Law.

26.     The Defendants have further violated the New York State Human Rights Law by being in

violation of the rights provided under the ADA.

        27.     Defendants, NORTH FORK RESTAURANT GROUP LLC, a New York limited

liability company, d/b/a NORTH FORK RESTAURANT, and M & E CHRISTOPHER LLC, a

New York limited liability company, are in violation of the New York State Human Rights Law
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by denying the Plaintiff full and safe access to all of the benefits, accommodations and services of

the Subject Facilities.

        28.     The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 22 as if

set forth in their entirety here.

               COUNT IV - VIOLATION OF THE ADMINISTRATIVE CODE
                            OF THE CITY OF NEW YORK

        29.   The Defendants have subjected, and continues to subject, Plaintiff to disparate

treatment by directly and/or indirectly refusing, withholding, and denying the full accommodations

of the Subject Facilities, and advantages, facilities and privileges of its place of public

accommodation, all because of disability, in violation of Administrative Code § 8-107(4).

        30.   The Defendants have discriminated against Plaintiff in violation of Administrative

Code of the City of New York, § 8-107(4), and Local Law 58 by maintaining and/or creating an

inaccessible place of public accommodation.

        31.   The Local Civil Rights Restoration Act of 2005 (the "Restoration Act"), also known

as Local Law 58, clarified the scope of the Administrative Code in relation to the New York City's

Human Rights Law. The Restoration Act confirmed the legislative intent to abolish "parallelism"

between the Administrative Code and the Federal and New York State anti-discrimination laws by

stating as follows:

        The provisions of this title shall be construed liberally for the accomplishment of
        the uniquely broad and remedial purposes thereof, regardless of whether federal or
        New York State civil and human rights laws, including those laws with provisions
        comparably-worded to provisions of this title, have been so construed.

Restoration Act § 7 amending Administrative Code § 8-130 (emphasis added).
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        32.   The Administrative Code is to be construed broadly in favor of Plaintiff to the fullest

extent possible. Albunio v. City of New York, 2011 NY Slip Op 02480 (N.Y. Court of Appeals,

March 31, 2011).

        33.   As a direct and proximate result of the Defendants' unlawful discrimination, in

violation of Administrative Code of the City of New York, Plaintiff has suffered an injury in fact.

        34.   The Defendants' long-standing refusal and/or lack of effort to make the Subject

Facilities fully accessible was egregious and undertaken with reckless disregard to Plaintiff's rights

under the Administrative Code.

        35.   By failing to comply with the law in effect for decades, the Defendants have

articulated to disabled persons, such as the Plaintiff, that they in effect are not welcome and not

desired as patrons of its place of public accommodation.

        36.   The Defendants unlawful discriminatory conduct constitutes willful and wanton

violations of the Administrative Code for which Plaintiff is entitled to an award of punitive

damages. Administrative Code § 8-502.

        37.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 27 as if

set forth in their entirety here.

                                    ATTORNEYS’ FEES AND COSTS

        38.     The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. The Plaintiff is entitled to have his reasonable attorneys’ fees, costs and

expenses paid by the Defendants, pursuant to the ADA and the New York City Human Rights

Law.

        39.     Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including

compensatory damages contemplated by § 297(9).
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                                           DAMAGES

       40.     The Plaintiff demands one thousand five hundred dollars ($1,500.00) in

compensatory damages based on the Defendants’ violation of the New York City Human Rights

Law and the New York State Human Rights Law, plus punitive damages pursuant to the

Administrative Code of the City of New York.

                                        INJUNCTIVE RELIEF

       41.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the Subject Facilities to make it readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA, the

New York City Human Rights Law, and the New York State Human Rights Law and closing the

Subject Facilities until the requisite modifications are completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants and

requests the following injunctive and declaratory relief:

       A.      The Court declare that the Subject Property and Subject Facilities owned, operated,

               leased, controlled and/or administered by the Defendants are violative of the ADA,

               the New York City Human Rights Law, and of the New York State Human Rights

               Law;

       B.      The Court enter an Order requiring the Defendants to alter their facilities and

               amenities to make them accessible to and usable by individuals with disabilities to

               the full extent required by the Title III of the ADA and by NYCHRL, and the

               NYSHRL;

       C.      The Court enter an Order directing the Defendants to evaluate and neutralize their

               policies, practices and procedures toward persons with disabilities, for such
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              reasonable time so as to allow the Defendants to undertake and complete corrective

              procedures to the Subject Facilities;

       D.     The Court award reasonable attorney’s fees, all costs (including, but not limited to

              court costs and expert fees) and other expenses of suit, to the Plaintiff; and

       E.     The Court award such other and further relief as it deems necessary, just and proper.

Dated: This 15th day of January, 2025.

                                             Respectfully submitted,

                                             By: /S/ B. Bradley Weitz                    .
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